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                        IN THE UNITED STATES BANKRUPTCY COURT
                             FOR THE DISTRICT OF DELAWARE


In re:                                                    Chapter 11

RTI HOLDING COMPANY, LLC, et al.,1                        Case No. 20-12456 (JTD)

                 Debtors.                                 (Jointly Administered)


                                 NOTICE OF APPEARANCE AND
                               REQUEST FOR SERVICE OF PAPERS

         PLEASE TAKE NOTICE that the undersigned counsel hereby appear in the above-

captioned case for and on behalf of Christopher Marchand, class action plaintiff in that certain

action pending before the Superior Court of Connecticut, J.D. Hartford, Case No.: HHD-X07-19-

6106450, and other similarly situated employees (collectively, the “Class Members”), for all

purposes in connection with this case. The undersigned counsel hereby request service of any

and all notices given or required to be given in the above-captioned case, and all papers served or

required to be served in the case, and request that the names and addresses of the undersigned




1
  The Debtors in these chapter 11 cases and the last four digits of each Debtor’s U.S. tax identification number are
as follows: RTI Holding Company, LLC (4966); Ruby Tuesday, Inc. (5239); Ruby Tuesday, LLC (1391); RTBD,
LLC (6505); RT of Carroll County, LLC (8836); RT Denver Franchise, L.P. (2621); RT Detroit Franchise, LLC
(8738); RT Distributing, LLC (6096); RT Finance, LLC (7242); RT FL Gift Cards, Inc. (2189); RT Florida Equity,
LLC (7159); RT Franchise Acquisition, LLC (1438); RT of Fruitland, Inc. (1103); RT Indianapolis Franchise, LLC
(6016); RT Jonesboro Club (2726); RT KCMO Franchise, LLC (7020); RT Kentucky Restaurant Holdings, LLC
(7435); RT Las Vegas Franchise, LLC (4969); RT Long Island Franchise, LLC (4072); RT of Maryland, LLC
(7395); RT Michiana Franchise, LLC (8739); RT Michigan Franchise, LLC (8760); RT Minneapolis Franchise,
LLC (2746); RT Minneapolis Holdings, LLC (7189); RT New England Franchise, LLC (4970); RT New Hampshire
Restaurant Holdings, LLC (7438); RT New York Franchise, LLC (1154); RT Omaha Franchise, LLC (7442); RT
Omaha Holdings, LLC (8647); RT One Percent Holdings, LLC (6689); RT One Percent Holdings II, LLC (2817);
RT Orlando Franchise, LP (5105); RT Restaurant Services, LLC (7283); RT South Florida Franchise, LP (3535);
RT Southwest Franchise, LLC (9715); RT St. Louis Franchise, LLC (6010); RT Tampa Franchise, LP (5290); RT
Western Missouri Franchise, LLC (6082); RT West Palm Beach Franchise, LP (0359); RTTA, LP (0035); RTT
Texas, Inc. (2461); RTTT, LLC (9194); Ruby Tuesday of Allegany County, Inc. (8011); Ruby Tuesday of Bryant,
Inc. (6703); Ruby Tuesday of Columbia, Inc. (4091); Ruby Tuesday of Frederick, Inc. (4249); Ruby Tuesday of
Linthicum, Inc. (8716); Ruby Tuesday of Marley Station, Inc. (1641); Ruby Tuesday of Pocomoke City, Inc. (0472);
Ruby Tuesday of Russellville, Inc. (1601); and Ruby Tuesday of Salisbury, Inc. (5432). The Debtors’ mailing
address is 333 East Broadway Ave., Maryville, TN 37804.
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counsel be added to all mailing matrices in this case. Service may be made and directed as

follows:

                                      Michael L. Vild, Esq.
                                     CROSS & SIMON, LLC
                                 1105 N. Market Street, Suite 901
                                     Wilmington, DE 19801
                                   Telephone: (302) 777-4200
                                    Facsimile: (302) 777-4224
                                      mvild@crosslaw.com

       PLEASE TAKE FURTHER NOTICE that the foregoing demand includes not only the

notices and papers referred to in the Bankruptcy Rules and the Bankruptcy Code, but also

includes without limitation any notice, application, complaint, demand, motion, petition,

pleading or request, whether formal or informal, written or oral, and whether transmitted or

conveyed by mail, delivery, telephone, telegraph, telex, email, electronic filing or otherwise filed

or made with regard to the above-captioned case and proceedings therein, and for the purposes of

CM/ECF.

       This Notice of Appearance and Request for Service of Papers is without prejudice to the

Class Members’ rights, remedies, and claims against other entities or any objection that may be

had to the subject-matter jurisdiction of the court, and shall not be deemed or construed to submit

the Class Members to the jurisdiction of the Court. All rights, remedies, and claims are hereby

expressly reserved, including without limitation the Class Members’ (i) right to have final orders

in non-core matters entered only after de novo review by a District Judge, (ii) right to trial by

jury in any proceeding so triable in these cases or in any case, controversy, or proceeding related

to these cases, (iii) right to have the District Court withdraw the reference in any matter subject

to mandatory or discretionary withdrawal, (iv) right to seek a change of venue, or (v) any other

rights, claims, actions, setoffs or recoupments to which the Class Members are or may be




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entitled, in law or in equity, all of which rights, claims, actions, defenses, setoffs, and

recoupments the Class Members expressly reserve.



Dated: November 12, 2020                  CROSS & SIMON, LLC

                                          /s/ Michael L. Vild
                                          Michael L. Vild (No. 3042)
                                          1105 N. Market Street, Suite 901
                                          Wilmington, DE 19801
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                                          Counsel to Christopher Marchand, class action
                                          plaintiff in that certain action pending before the
                                          Superior Court of Connecticut, J.D. Hartford, Case
                                          No.: HHD-X07-XX-XXXXXXX, and other similarly
                                          situated employees




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